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                      IN THE UNITED STATES DISTRICT COURT,
                    IN AND FOR THE CENTRAL DISTRICT OF UTAH

PAMELA WHITNEY,                                NOTICE OF VOLUNTARY DISMISSAL
                                                       WITH PREJUDICE
               Plaintiff,
vs.
                                                    Case No. 2:20-CV-135-HCN-DAO
TA OPERATING LLC, A Delaware
Limited Liability Company, as successor-in-            Judge Howard C. Nielsen, Jr.
interest to NATIONAL
AUTO/TRUCKSTOPS, INC. John Does I –
X, XYZ Corporations and/or Limited
Liability Companies I – X.

               Defendants.


       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff Pamela

Whitney, by and through undersigned counsel, voluntarily dismisses this action as to all

Defendants, with prejudice. As of the date of this notice, no answer to the Complaint nor motion

for summary judgment has been filed.




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       DATED this 16th day of June, 2020.

                                                     FORD & CRANE PLLC



                                                     /s/ Matthew B. Crane
                                                     Matthew B. Crane (UTB# 13909)
                                                     Attorney for Plaintiff



                                CERTIFICATE OF SERVICE

       I, the undersigned, certify that on the 16th day of June, 2020, I caused a true and correct

copy of the foregoing NOTICE OF VOLUNTARY DISMISSAL to be filed with the Court

electronically, which caused notice to be served upon all e-filing counsel of record via the

Court’s notice of electronic filing [NEF].


                                                     /s/ Matthew B. Crane




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